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                                                                  May 26, 2021
   1   STUART FROST                                                   kdu
       6 Heavenly Isle
   2   Ladera Ranch, CA 92694
       Telephone: (949) 338-6312
   3
       In Propria Persona
   4

   5

   6                          UNITED STATES DISTRICT COURT
   7                         CENTRAL DISTRICT OF CALIFORNIA

   8
        SECURITIES AND EXCHANGE              Case No. 8:19-cv-01559
   9    COMMISSION,
  10    Plaintiff,                           The Honorable Josephine L. Staton
        v.
  11    STUART FROST and FROST               STUART FROST’S OPPOSITION TO
  12    MANAGEMENT COMPANY, LLC,             SHEPPARD, MULLIN, RICHTER &
        Defendants.                          HAMPTON LLP’S MOTION TO
  13                                         WITHDRAW AS COUNSEL OF
  14                                         RECORD FOR DEFENDANT
                                             STUART FROST; DECLARATION
  15                                         OF STUART FROST IN SUPPORT
  16                                         THEREOF
  17                                         Hearing Date:     June 4, 2021
  18                                         Time:             10:30 a.m.
  19                                         Complaint Filed: August 13, 2019
  20                                         Trial Date: Not Set
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        STUART FROST’S OPPOSITION TO SHEPPARD MULLIN MOTION TO WITHDRAW AS
                                 COUNSEL OF RECORD
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   1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2         Stuart Frost, an individual defendant, in properia persona, hereby opposes the
   3   motion by Sheppard, Mullin, Richter and Hampton LLP (“Sheppard Mullin” or
   4   “SM”), dated April 16, 2021, to withdraw as counsel of record for defendants Stuart
   5   Frost and Frost Management Company, LLC (“FMC”). It should be noted at the
   6   threshold that Sheppard Mullin substituted out as counsel for FMC, which is now
   7   represented by Callari & Summers.
   8         Stuart Frost opposes SM’s motion on grounds that withdrawal at this critical
   9   stage of the case would cause extreme prejudice to his defense and may cause the trial
  10   to be delayed unnecessarily. If granted, it will necessarily require a continuance of
  11   pending deadlines because new counsel would have to be engaged and have a
  12   reasonable time to get up to speed on the issues, claims and defenses in this case.
  13   Notably, there is an expert discovery deadline of June 7, 2021, as well as several other
  14   deadlines/hearings set in this case, including a summary judgment motion by the
  15   Securities and Exchange Commission.
  16         Furthermore, the engagement letter referred to in Sheppard Mullin’s motion is
  17   not attached as an exhibit, presumably because it considered an attorney-client
  18   communication. However, having brought this motion primarily on grounds that SM
  19   is not likely to be paid its fees by insurance, the Court should note the following
  20   statement in the engagement letter: “We understand that Stuart Frost shall not be
  21   individually liable for our fees and costs, but that we will pursue recovery through
  22   insurance coverage available to him.” Given that it is very likely that Sheppard
  23   Mullin’s fees for defending Stuart Frost, both going forwards and for recent months,
  24   will be fully covered, or substantially covered, by insurance, withdrawal cannot be
  25   justified due to lack of payment. Indeed, Sheppard Mullin has been paid
  26   approximately $2 million in fees and costs to date by insurance.
  27         Accordingly, the Motion should be denied.
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        STUART FROST’S OPPOSITION TO SHEPPARD MULLIN MOTION TO WITHDRAW AS
                                 COUNSEL OF RECORD
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   1          This Opposition is based on this Notice and Opposition, Declaration of Stuart
   2   Frost set forth below, the complete files and records in this action, those matters of
   3   which this Court may take judicial notice, and such oral argument and evidence as the
   4   Court may deem appropriate at the hearing on the motion.
   5   Dated: May 24, 2021
   6
                                                 By: _________________________________
   7
                                                            Stuart Frost
   8                                                        In Propria Persona
   9

  10                           DECLARATION OF STUART FROST
  11

  12          1.     I, Stuart Frost, am a defendant in the above-captioned case. I am
  13   currently represented by Sheppard Mullin (sometimes referred to herein as “SM”),
  14   who has served as my counsel of record in this case.
  15          2.     The matters stated herein are true and correct based upon my personal
  16   knowledge, except as to those matters that I state is based my understanding or belief,
  17   and I would and could so testify if called as a witness to do so.
  18          3.     Sheppard Mullin’s motion to withdraw comes at a critical time in my
  19   case and will create extreme prejudice to my defense if allowed by the Court. It is also
  20   unnecessary, given the agreement by my insurance carrier, Liberty Insurance
  21   Underwriters, Inc. (“Liberty”) to pay the costs of my defense in full, subject to the
  22   usual caveats.
  23          4.     It appears that SM’s main reason for submitting their motion to withdraw
  24   is that they have not been paid 100% in full for previous invoices submitted and that
  25   there is some risk going forward that SM may not be paid 100% in full for future
  26   invoices. While that is true, it does not tell the full story.
  27          5.     The reality is that Liberty continues to pay the costs of my defense,
  28   including my share of SM’s outstanding invoices for the last two months. While
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   1   Liberty has recently denied coverage for Frost Management Company, LLC
   2   (“FMC”), the substitution of counsel for FMC filed on April 30th, 2021 with the Court
   3   makes SM’s motion to withdraw for FMC moot.
   4         6.     SM refers to the engagement letter between SM, and myself and FMC in
   5   connection with this case. I would like to draw the court’s attention to Section 3,
   6   which contains the following paragraph:
   7                “We have agreed to undertake this engagement on the
   8                condition that, in addition to Frost Management Company,
   9                LLC’s agreement to pay our fees and charges, there is
  10                available insurance proceeds to pay our fees and charges.
  11                We understand that Stuart Frost shall not be individually
  12                liable for our fees and costs, but that we will pursue
  13                recovery through insurance coverage available to him.”
  14                [Emphasis added.]
  15         7.     Notably, when signing the engagement letter, SM knew full well that
  16   FMC had no funds of its own and explicitly agreed that I would not be personally
  17   liable for any of their fees. It is therefore surprising that they are trying to withdraw
  18   due to lack of payment by FMC and myself of the difference between their actual
  19   billings versus the payments made to SM by Liberty.
  20         8.     Also, while it is true that Liberty has created a series of issues involving
  21   the payment of SM’s bills, these appear to have been resolved to the extent that there
  22   is a reasonable expectation of my own defense costs being paid in full – both for past
  23   invoices and going forwards.
  24         9.     In terms of SM’s past invoices, the reality is that SM has been paid over
  25   $2 million to date, out of total billings of approximately $3.1 million, including
  26   $124,414.52 paid by me personally. In addition, SM has outstanding invoices from
  27   April and May of this year for $431,966.29 and $263,350.10, respectively. Recent
  28   communications from Liberty indicate that at least 50% ($363,658.20) of these
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         STUART FROST’S OPPOSITION TO SHEPPARD MULLIN MOTION TO WITHDRAW AS
                                  COUNSEL OF RECORD
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   1   invoices will be paid, I believe with a reservation of rights by Liberty.
   2         10.    It should be noted that the 50% payment referred to above is specifically
   3   for the defense costs of Stuart Frost, with the remainder being for FMC. This situation
   4   arose recently, due to Liberty’s decision to apply allocation of costs to the case and
   5   their denial of coverage for FMC going forward, not for past fees and costs.
   6         11.    To my knowledge, at no time has Liberty denied coverage for me as an
   7   individual in connection with this case.
   8         12.    SM’s current estimate for their billings in connection with my defense as
   9   an individual through the trial is $925,000 and I understand that Liberty has accepted
  10   that they must pay those costs. While I accept that there is always some risk of an
  11   insurer refusing to pay attorney’s fees, it seems to me that that is the situation in every
  12   case that is covered by insurance. Given that, what is different about SM’s position in
  13   this particular case, to the extent that they should be allowed to withdraw? It is my
  14   belief that SM should not be allowed to withdraw based upon the facts and
  15   circumstances that it presents in its motion.
  16         13.    As the court is aware, there is substantial activity on the case involving
  17   expert rebuttals and depositions in the next few weeks, together with a final pre-trial
  18   conference set for July 16, 2021. Even more critically, the SEC’s Motion for
  19   Summary Judgement is due to be heard on August 20, 2021, with my opposition due
  20   on July 30, 2021.
  21         14.    The prejudice to me to get new counsel familiar with all the claims and
  22   defenses in this case is quite apparent. Indeed, this is a very complex case and it will
  23   take time to get new counsel up to speed if SM’s motion is granted. There is also no
  24   guarantee that Liberty will agree to pay the related costs. Given that I have no other
  25   means of paying these costs, the risks of switching counsel at this point in time are
  26   extreme. In a recent Zoom call with me, Michael Stewart (General Counsel of SM)
  27   contended that it would only take a couple of days to get new counsel up to speed.
  28   Given that SM has already billed over $3 million in connection with this case, I find
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        STUART FROST’S OPPOSITION TO SHEPPARD MULLIN MOTION TO WITHDRAW AS
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   1   that contention to be far from a reasonable estimate. I believe the Court would agree
   2   that “a couple of days” is a gross underestimation of time that it would take new
   3   counsel to become adequately prepared to pursue my defense. The mediation briefs
   4   in this matter were, I believe, collectively over 100 pages. There are hundreds, if not
   5   thousands, of relevant documents that have been exchanged to date in this case.
   6         15.    If SM’s motion is granted by the Court, it seems that the trial date
   7   necessarily will need to be delayed, not to mention the pending deadlines simply
   8   because of the need to retain new counsel and allow new counsel a reasonable time to
   9   get up to speed. The uncertainty and publicity created by this case is already causing
  10   significant damage to my ability to earn a living and any delays will make the damage
  11   to me in this regard substantially worse.
  12         16.    In summary, SM’s motion to withdraw is unwarranted, given the clear
  13   agreements in the engagement letter and Liberty’s agreement to pay my defense costs
  14   in full. Allowing this motion will create extreme prejudice to my case and is very
  15   likely to require a substantial delay of pending motions, discovery deadlines and the
  16   trial date, given the amount of time that will be reasonably required to secure alternate
  17   counsel and bring them up to speed, not to mention the risk that I will be unable to
  18   secure a comparable firm as alternate counsel. I therefore ask the court to deny SM’s
  19   motion to withdraw.
  20
  21         I declare under penalty of perjury under the laws of the United States and the
  22   laws of the State of California that the foregoing testimony is true and correct.
  23   Executed in Orange County, California, this 24th day of May 2021.
  24
                                              By: _________________________________
  25
                                                         Stuart Frost
  26                                                     In Propria Persona
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        STUART FROST’S OPPOSITION TO SHEPPARD MULLIN MOTION TO WITHDRAW AS
                                 COUNSEL OF RECORD
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   1                                     PROOF OF SERVICE
   2                     STATE OF CALIFORNIA, COUNTY OF ORANGE
   3         I am employed in the County of Orange, State of California. I am over the age of
       18 and not a party to the within action; my business address is Callari & Summers,
   4   34197 Pacific Coast Highway, Suite 100, Dana Point, CA 92629.
   5
            On May 24, 2021, I electronically served true and correct copies of the following
   6   document in PDF format, described as:
   7
              [ X ] STUART FROST’S OPPOSITION TO SHEPPARD, MULLIN,
   8                RICHTER & HAMPTON LLP’S MOTION TO WITHDRAW AS
   9                COUNSEL OF RECORD FOR DEFENDANT STUART FROST;
                    DECLARATION OF STUART FROST IN SUPPORT THEREOF
  10

  11   on the interested parties in this action as follows:
  12                                         SERVICE LIST
  13
       Donald Searles                                   Raymond C. Marshall
  14   Douglas M. Miller                                Robert J. Guite
       SECURITIES AND EXCHANGE COMM’N                   Melissa K. Eaves
  15   444 S. Flower Street, Suite 900                  SHEPPARD, MULLIN, et al.
  16   Los Angeles, CA 90071                            Four Embarcadero Center, 17th Fl.
       Email:    searlesd@sec.gov                       San Francisco, CA 94111
  17             millerdou@sec.gov                      Email: rmarshall@sheppardmullin.com
                                                               rguite@sheppardmullin.com
  18                                                           meaves@sheppardmullin.com
  19
              BY EMAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
  20   document(s) referenced above to be sent to the email addresses listed in the Service List
  21   to the persons at the e-mail addresses listed above. I did not receive, within a reasonable
       time after the transmission, any electronic message or other indication that the
  22   transmission was unsuccessful.
  23
              BY ELECTRONIC DOCUMENT SUBMISSION SYSTEM FOR PEOPLE
  24   WITHOUT LAWYERS (“EDSS”): Stuart Frost, in propria persona, submitted the
  25   document referenced above to be filed through the online portal known as EDSS. EDSS
       will not send copies of the filed documents to anyone but the Court. Accordingly, this
  26   Proof of Service by Email is also submitted.
  27
       ///
  28   ///

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                                           PROOF OF SERVICE
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       I declare under penalty of perjury under the laws of the State of California that the above
   1
       is true and correct.
   2

   3
             Executed on May 24, 2021, at Dana Point, California.

   4

   5

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   7                                           Andrew Callari
   8

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                                          PROOF OF SERVICE
